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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

ERIC MARCH, JR. & DINA MARCH,               :       No. 3:17-cv-2028 (VAB)
      Plaintiffs,                           :
                                            :
v.                                          :
                                            :
UNITED STATES OF AMERICA,                   :
      Defendant.                            :       APRIL 21, 2021

                                        BILL OF COSTS

      The plaintiffs, pursuant to Local Rule 54(c), hereby submit the following bill of costs:

       Fees of the Clerk and Marshal
       Complaint Service                                         $329.80
       Complaint Filing Fee                                      $400.00
       Subpoena for Trial Testimony                               $57.80


       Fees of the Court Reporter
       Scribes, Inc.                                           $1,096.57
       Geomatrix Productions, Inc.                             $1,065.32
       Falzarano Court Reporters, LLC                           $353.30
       JSB Advantage Court Reporters                            $233.30
       US Legal Support                                         $934.70
       Sharon Montini, Court Reporter                          $3,682.79


       Fees for Copies of Papers
       In-house copying ($.20/page)                             $579.45
       Copy Graphics                                           $1,261.76


       Fees for Witnesses
       Darlene Carruthers/Comprehensive
       Rehabilitation Consultants                                 $40.00
       R. Stephen Smith, MD                                       $40.00
       Gary Crakes, PhD                                           $40.00


                                                   TOTAL:     $10,114.79
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                                                     RESPECTFULLY SUBMITTED,
                                                     THE PLAINTIFFS

                                                    By: __ /s/ct01704_________________
                                                         KATHLEEN L. NASTRI/ ct01704
                                                         KOSKOFF, KOSKOFF & BIEDER, PC
                                                         350 FAIRFIELD AVENUE
                                                         BRIDGEPORT, CT 06604
                                                         TEL./FAX: (203) 336-4421
                                                         (203) 368-3244
                                                         EMAIL: KNASTRI@KOSKOFF.COM

                                        CERTIFICATION

        I hereby certify that a copy of the foregoing was filed electronically and served by mail
on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all
parties by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing. Parties may access this filing through the Court’s system.

                                                     /s/ct01704___________________
                                                     Kathleen L. Nastri




                                                2
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 AO44
 (Rev. 11/07)                                   UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF CONNECTICUT
                                                          INVOICE NO:      02005426
                                                                                      MAKE CHECKS PAYABLE TO:
  Kathleen Nastri, Esq                                                       Sharon Montini, RMR,FCRR
  Koskoff, Koskoff & Bieder                                                  Official Court Reporter
  350 Fairfield Avenue                                                       United States District Court
  Bridgeport, CT 06604                                                       915 Lafayette Blvd,
                                                                             Bridgeport, CT 06604
  Phone:                                                                     Phone:      (203) 865-8089

                                                                             Tax ID:    XX-XXXXXXX
                                                                             sharon_montini@ctd.uscourts.gov
                                                          DATE ORDERED:                              DATE DELIVERED:
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Case Style: , March v United States
Trial Transcript 10/19/20 - 10/22/20



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                                                                          LESS DISCOUNT FOR LATE DELIVERY:

                                                                                                TAX (If Applicable):           219.89

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                                                                                                 TOTAL REFUND:

                                                                                                        TOTAL DUE:           $3,682.79

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